
Big Apple Ortho Products, Inc., as Assignee of Contreros, Nicolas, Appellant,
againstAmeriprise Auto &amp; Home, Respondent.




The Rybak Firm, PLLC (Damin J. Toell, Esq.), for appellant.
Bruno, Gerbino &amp; Soriano, LLP (Mitchell L. Kaufman, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Devin P. Cohen, J.), entered August 22, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is reversed, with $30 costs, and defendant's motion for summary judgment dismissing the complaint is denied.
In this action by a provider to recover assigned first-party no-fault benefits, defendant moved for summary judgment dismissing the complaint on the ground that it had timely and properly denied the claim at issue based upon plaintiff's failure to appear for duly scheduled examinations under oath (EUOs). By order entered August 22, 2014, the Civil Court granted defendant's motion.
Plaintiff correctly argues that defendant's moving papers failed to establish, as a matter of law, that the first EUO scheduling letter defendant sent to plaintiff had been timely, as defendant stated that the letter had been sent more than 30 days after defendant had received the claim (see Neptune Med. Care, P.C. v Ameriprise Auto &amp; Home Ins., 48 Misc 3d 139[A], 2015 NY Slip Op 51220[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]; O &amp; M Med., P.C. v Travelers Indem. Co., 47 Misc 3d 134[A], 2015 NY Slip Op 50476[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]). Consequently, defendant failed to demonstrate that it had properly and timely denied the claim based upon plaintiff's failure to comply with a condition precedent to coverage (see Stephen Fogel Psychological, P.C. v Progressive Cas. Ins. Co., 35 AD3d 720 [2006]). Plaintiff's remaining contention lacks merit.
Accordingly, the order is reversed and defendant's motion for summary judgment dismissing the complaint is denied.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: November 03, 2017










